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INITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

ROBERT BARNARD and BRYAN

AHRENS, on Behalf of Themselves and on

Behalf of All Others Similarly Situated,
Plaintiffs,

CIVIL ACTION NO. 4:1 1-cv-02198

JURY TRIAL DEMANDED
V.

INTERTEK USA INC D/B/A INTERTEK
CALEB BRETT,
Defendant.

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ORDER GRANTING APPROVAL OF SETTLEMENT AGREEMENT

The Court has reviewed the parties Joint Motion for Approval of Settlement and all of the
exhibits attached thereto, including the terms of the settlement agreement which were filed under
seal. In the Plaintiffs’ live Complaint, they alleged that the defendant violated the Fair Labor
Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., by failing to pay the correct amount of
overtime for hours worked in excess of forty hours in a workweek. The case was certified as a
collective action and notice issued. More than 300 individuals filed consents to join the action
and remain part of this action. The parties have jointly moved for approval of a settlement
agreement and to enter an order dismissing this case.

The FLSA provides that “any employer who violates the provisions of section 206 or 207
of this title shall be liable to the employee ... affected in the amount of unpaid wages, or their
unpaid overtime compensation, as the case may be ....” 29 U.S.C. § 216(b). FLSA claims may
be compromised after the court reviews and approves a settlement in a private action for back

wages under 29 U.S.C. § 216(b). Lynn's Food Stores, Inc. v. United States, U.S. Dep’t of Labor, 679

 

 

 

 
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F.2d 350, 1353 (11th Cir.1982). If the settlement reflects “a reasonable compromise over issues,”
the court may approve it. Jd at 1354.

In this case, there are genuine disputes over whether defendant violated the FLSA and the
amount, if any, of overtime pay due. This court has reviewed the settlement agreement and finds
that the amount to be paid to the plaintiffs and the amount of attorney's fees and expenses
provided for in the settlement agreement are fair and reasonable. This court approves the
proposed settlement as a fair and reasonable compromise of a bona fide dispute under the FLSA.

The motion for approval is granted.

 

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THE HONORABLE SIM LAKE
UNITED STATE DISTRICT JUDGE

 

 

 
